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    8                     UNITED STATES DISTRICT COURT
    9           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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   11 SUNIL KUMAR, Ph. D., PRAVEEN            Case No. 2:22-cv-07550-RGK-MAA
      SINHA, Ph. D.,
   12                                         [PROPOSED] ORDER
                   Plaintiffs,                CLARIFYING ADR PROCEDURE
   13                                         AND/OR EXTENDING ADR
             v.                               COMPLETION DEADLINE [107]
   14
      DR. JOLENE KOESTER, in her              Judge:         R. Gary Klausner
   15 official capacity as Chancellor of      Trial Date:    October 24, 2023
      California State University,
   16
                   Defendant.
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